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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,                                        CASE NO. 19-CR-20141-JLK-2

                 Plaintiff,

  vs.

  VICTOR ROJAS,

              Defendant,
  ______________________________/

                           DEFENDANT, VICTOR ROJAS’
                       MOTION FOR A DOWNWARD VARIANCE
                  PURSUANT TO THE TITLE 18 U.S.C. §3553(a) FACTORS

         COMES NOW the Defendant, VICTOR ROJAS, by and through his undersigned

  counsel, and presents herewith, his Motion for a Downward Variance pursuant to the Title 18

  U.S.C. §3553(a) Factors, and states as follows:

                                         INTRODUCTION

         At the start it should be clear that Victor Rojas is sincerely remorseful for his criminal

  conduct and acknowledges that the offense to which he has entered his plea of guilty is of a serious

  nature. Further, the Defendant wholly realizes the impact his poor decision to become involved in

  this criminal conduct will have upon his family and his future, and knows that he has nobody to

  blame but himself.

         The United States Supreme Court has stated that Federal sentencing demands that every

  convicted person be treated as an individual and “every case as a unique study in the human failings

  that sometimes mitigate, sometimes magnify, the crime and punishment to ensue.” Gall v. United

  States, 128 S.Ct. 586, 589 (2007). It is the sincere hope that this Honorable Court will examine

  Mr. Rojas’ “human failings” along with the other aspects of his life, and find that a sentence well-

  below the advisory sentencing guideline range is appropriate. Further, the Defendant would
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  respectfully request the Court to take note that he has been in custody since April 25, 2019, unable

  to meet the requirements of the stipulated $250,000 corporate surety bond and as a result of a

  detainer issued from the Southern District of New York. It should further be noted that, being a

  Bolivian citizen, at the completion of the Defendant's term of imprisonment, he will be surrendered

  to the custody of the U.S. Immigration and Customs Enforcement for deportation or removal

  proceedings consistent with the Immigration and Nationality Act.

         On October 31, 2019, this Honorable Court sentenced the Defendant’s brother, Juan Rojas,

  to a forty-six (46) month term of imprisonment and three (3) years’ supervised release for his

  participation in this money laundering conspiracy, and it is submitted that to avoid a disparity in

  sentencing the same sentence would be appropriate for this Defendant, Victor Rojas. [See D.E. 51

  – Juan Rojas’ Judgment entered on November 1, 2019]. (This point is discussed in-detail in a

  separate section below.)

         According to the Government, Ruben Dario Rojas Bascope, the Defendant’s older brother,

  was the leader/organizer of the conspiracy. On May 8, 2019, he was transferred to fugitive status,

  never having been apprehended.

                                 PROCEDURAL BACKGROUND

         1.      On January 27, 2020, the defendant pled guilty to Count One of a four-count

  Indictment. Count One charged him with conspiracy to commit money laundering, in violation of

  18 U.S.C. § 1956(h). He was not named in Counts Two through Four of the Indictment. [D.E. 61]

         2.      The Presentence Investigation Report provides at paragraph 79: “Guideline

  Provisions: Based upon a total offense level of 27 and a criminal history category of I, the guideline

  imprisonment range is 70 to 87 months.” [D.E. 66]




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         3.      The Defendant has filed Objections to the Presentence Investigation Report, therein

  arguing that he should receive a four (4) level minimal role reduction, or in the least, a three (3)

  level intermediate mitigating role reduction for his truly minimal role in the criminal activity,

  therefore resulting in a total offense level of 25 and a criminal history category of I, the advisory

  guideline imprisonment range should be 57 to 71 months, or alternatively, resulting in a total

  offense level of 26 and a criminal history category of I, the advisory guideline imprisonment range

  should be 63 to 78, before the application of any applicable downward departures and/or variances

  that this Honorable Court may deem appropriate. Other than the extent of mitigating role

  reduction, there are no other objections for this Court’s determination. [D.E. 67]

         4.      The sentencing hearing is presently scheduled for Monday, August 17, 2020 at

  10:00 a.m. [D.E. 71]

         5.      The within Motion for a Downward Variance pursuant to the Title 18 U.S.C.

  §3553(a) Factors is submitted in the utmost of good faith and in the interest of justice.

               THE HISTORY AND CHARACTERISTICS OF VICTOR ROJAS
                        THAT WARRANT CONSIDERATION

         Title 18 U.S.C. §3553(a)(1) provides that the court in fashioning the appropriate sentence

  to be imposed, shall consider “the nature and circumstances of the offense and the history and

  characteristics of the defendant.”

         With regard to the history and characteristics of Victor Rojas, the Presentence Investigation

  Report prepared by the very capable Probation Officer more than adequately sets out the family

  history and personal information of the Defendant. However, there are a few points that should be

  highlighted. (Correspondence directed to the Court relating to Victor Rojas’ good character are

  attached hereto as Composite Exhibit “A.”)



                                                   3
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           First, not to lessen the Defendant’s sincere acceptance of responsibility, it should be noted

  that the Defendant is the youngest of seven siblings, who was raised in large part by the most

  culpable defendant in this case, his older brother, Ruben Dario Rojas Bascope. Although at all

  times material hereto Victor Rojas was certainly a fully grown adult, how the influence of an older

  brother who raised you can never truly be known.

           As so many before him, Victor Rojas came to this country with dreams of making a better

  life for himself. The first thing he did to achieve that goal was to enroll in English classes. He

  attended college at King’s Borough Community College, and studied English for two years while

  working in construction during the daytime hours. As a result of the Defendant’s hard-work and

  studies, he is now fully bilingual.

           At that time, he was with Norma Chavez Arenas and they had their first daughter, Tatiana

  (now 25 years of age). That child was the most wonderful thing that happened in his life up to that

  point.

           During that time period, Mr. Rojas became the manager of the parking company that he

  was working with. He saved money to buy a home and to provide a better education for his

  daughter.

           In 2003 his second daughter was born, “R.R.” (now 17 years of age), and they bought a

  house in New Jersey, living a quiet life and always being attentive to the needs of the daughters,

  and teaching them to be caring and respectful of other people, and to contribute to society in

  whatever way they could. Victor Rojas is very proud of his daughters and knows that he has been

  blessed.

           Norma Chavez, the mother of Victor Rojas’ daughters, has opined when referring to him:

  “I have experienced an individual whom I have known as a person with values, principles and

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  impeccable conduct, noble, honest and very much loved by those around him. It is worth emphasizing

  that he worked hard from sunrise to sunset so that his family did not lack anything.”

          Tatiana Rojas, who is Victor Rojas’ oldest daughter, has stated that “she is now a 24-year-

  old woman, currently a Nutrition student attending Montclair State University. For all my 24 years

  I can state and confirm my dad has always been there for his family no matter what.”

          “R.R.,” Victor Rojas’ younger daughter, has stated, “My father was a man who knew right

  from wrong when he was involved in my life. He cared and loved his family for most of his life,

  and even if we weren't there we would always be on his mind. He'd bring us gift whenever he

  could. He is a loyal and good hearted man. He was a man who wouldn't kill a spider, but trapped

  it and took it outside.”

          The Defendant’s sister, Tatiana Rojas, has stated, “Victor Hugo immigrated to the United

  States with dreams of self-improvements, he learned English and had his exemplary daughters and

  a family that he'd taken care of all this time … He always helped our Mother and siblings as

  needed. He was always attentive and friendly. His best traits were exemplary when attending his

  customers, bosses and neighbors; everyone had great things to say about him. … I feel that he was

  naive in the ways that lead him to where he is now. Before this case, he had never been arrested,

  much less jailed. I think he has learned that the worst of all aspects of the loss of freedom is the

  separation of his family and loved ones. I believe if he had realized the impact he was going to

  have on the people he most loved, he would never have done what he did. He always valued his

  morals and values that his peers had taught him. He appreciated the opportunities that this country

  offers to its immigrants. I think he could have done much more with his life and I also think he

  sees it now, but it is not too late … In a few years he could see his daughter's finishing college and

  have the opportunity to be united with family and friends again. I would like him to be beside my


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  mother during her last days, and time is sadly running out. I tell you all these things because I want

  you to know that it is very painful for our family to see his daughters suffering the way they are.

  They need their fathers support to move forward in life.”

                   Victor Rojas should receive the same forty-six (46) month sentence as
                   his brother/co-defendant, Juan Rojas, so as to avoid a disparity in
                   sentencing.

         Title 18 U.S.C. §3553(a) provides that one of the goals of sentencing is to avoid disparities

  in sentencing.

         Specifically, §3553(a)(6)provides:

               “(a) Factors to be considered in imposing a sentence.--The court shall
               impose a sentence sufficient, but not greater than necessary, to comply with
               the purposes set forth in paragraph (2) of this subsection. The court, in
               determining the particular sentence to be imposed, shall consider—
                                   ………………………………………..
               (6) the need to avoid unwarranted sentence disparities among defendants with
               similar records who have been found guilty of similar conduct; and …”

         The sentences imposed on defendants “with similar records who have been found guilty of

  similar conduct” is an important factor to consider and the Court should vary downward to “avoid

  unwarranted sentence disparities.” 18 U.S.C. § 3553(a)(6).

         In the context of this case, on October 31, 2019 this Honorable Court sentenced the

  Defendant’s brother, Juan Rojas, to a forty-six (46) month term of imprisonment and three (3)

  years’ supervised release for his participation in this money laundering conspiracy, and it is

  submitted that to avoid a disparity in sentencing the same sentence would be appropriate for this

  Defendant, Victor Rojas.

         First, it would be appropriate to compare the participation of each in the money laundering

  conspiracy as recounted by the Presentence Investigation Report, which demonstrates Juan Rojas’




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  hands-on role with regard to the actual currency, unlike that of Victor Rojas, who only participated

  in some wire-transfer banking activities.

         ● With regard to the participation of Juan Rojas, the Presentence Investigation Report

  reflects the following:

         12. The CS introduced undercover law enforcement officers (UCs) to conduct these
         money pickups. Between March 2015 and May 2016, the UCs picked up bulk
         currency on nine occasions. Three pick-ups were in South Florida, and six pick-ups
         were in Amsterdam, Netherlands. For the three money pick-ups in South Florida
         (May 12, 2015; May 29, 2015; and January 25, 2016), Juan Rojas personally
         delivered the money to the same UC …

         13. Each of the three times Juan Rojas delivered the money in South Florida, he
         turned it over to the UC in a parking lot. On the first two pick-ups, the money was
         delivered in a black backpack with a "Real Madrid" logo. Subsequently, a narcotics
         dog gave a positive alert on each of the three bulk cash pick-ups in South Florida.

         14. Another confidential source (CS2) positively identified Juan Rojas from his
         driver's license photo as a person that he had delivered bulk-cash from illegal
         or unlawful proceeds to, on at least two occasions in 2015. CS2 picked up the cash
         in South Florida from an unknown individual at the direction of a Bolivian drug
         trafficker and each time the money was contained in a black backpack with "a
         soccer logo" (consistent with Real Madrid). After receiving the cash, CS2 then
         delivered it to Juan Rojas in the same black backpack. CS2 was directed to tell
         Juan Rojas that this money was on behalf of Ruben Rojas. Phone records indicated
         that the CS's phone was in contact with Juan Rojas' phone approximately 14
         times on May 29, 2015, the day that Juan Rojas delivered $200,080 in a black
         backpack with a "Real Madrid" logo to an undercover agent.

         15. In addition to serving as a money courier for illegal or unlawful proceeds, bank
         records indicated that Juan Rojas also received some of the proceeds of the nine
         pick-ups from a UC bank account into his personal bank accounts in Florida
         and wired them to other domestic and foreign accounts at Ruben Rojas'
         direction. These were for money pick-ups on: March 31, 2015; July 17, 2015; July
         21, 2015; and August 26, 2015. The proceeds which were laundered through his
         personal bank account in Florida totaled approximately $454,150. For example,
         in relation to the money pick-up on March 31, 2015, after the UC received 500,000
         Euros in Amsterdam, Netherlands, the CS was directed by Ruben Rojas to wire
         $100,000 to Juan Rojas. Accordingly, the UC controlled bank account wired
         Juan Rojas' Citibank personal bank account ending in 1563 $50,000 on April
         8, 2015, and another $50,000 on April 9, 2015. Juan Rojas wired most of this
         $100,000 out to other bank accounts in less than 30 days.

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         ● With regard to the participation of the Defendant, Victor Rojas, the Presentence

  Investigation Report reflects the following:

         16. Victor Rojas’ bank records indicated that he also received some of the proceeds
         of each of the nine pick-ups from a UC bank account into his personal bank
         accounts in New York and wired them to other domestic and foreign accounts at
         Ruben Rojas' direction. The proceeds which were laundered through his personal
         bank accounts in New York totaled approximately $1,733,016. For example, in
         relation to the money pick-up on March 31, 2015, after the UC received 500,000
         Euros in Amsterdam, Netherlands, the CS was directed by Ruben Rojas to wire
         certain amounts to a New York bank account controlled by Victor Rojas.
         Accordingly, the UC controlled bank account wired Victor Rojas' Chase Bank
         personal bank account ending in 9865 $48,534 on April 9, 2015, and another
         $55,280 on April 10, 2015, for a total of §103,814. On April 13, 2015, Victor Rojas
         wired a total of $100,000 to a corporate bank account at a South American bank.
         This transfer was subsequently declined by the bank and the funds were returned to
         Victor Rojas, who successfully wired $95,000 to another South American bank on
         April 20, 2015. Similarly, in relation to the money pick-up on January 25, 2016,
         the UC received $501,006 in Pembroke Pines, Florida, and was directed by Ruben
         Rojas to wire certain amounts to two New York bank accounts controlled by Victor
         Rojas. On January 29, 2016, the UC transferred $100,000 to Victor Rojas’ Chase
         Bank account ending in 9865 and another $100,000 to Victor Rojas’ Bank of
         America account ending in 0937.

         As can be seen from the above language in the Presentence Investigation Report, the

  participation of Juan Rojas was far beyond that of the Defendant, Victor Rojas, and that is why a

  minimal role reduction is warranted for Victor Rojas to avoid a disparity in sentencing.

         Next, we shall turn to the Factual Proffer in this case [D.E. 63], which likewise

  demonstrates the participation of Juan Rojas was far beyond that of the Defendant, Victor Rojas.

         With regard to Juan Rojas:

             Between March 2015 and May 20l6, the UCs picked up bulk currency on nine
             (9) occasions. Three pick-ups were in South Florida, and six pick-ups were in
             Amsterdam, Netherlands. For the three money pick-ups in South Florida
             (money pick up #2, #3, and #8), Juan Rojas personally delivered the money to
             the same UC … Each time Juan Rojas delivered the money in South Florida
             ($179,985 USD on 5/12/15, $200,080 on 5/29/15, and $501,006 on 1/25/16),
             he turned it over to the UC in a parking lot … CS2 picked up drug proceeds in
             South Florida from an unknown individual at the direction of a Bolivian drug
             trafficker … After receiving the drug proceeds, CS2 then delivered the proceeds
                                                  8
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              to Juan Rojas … Phone records indicate that the CS's phone was in contact with
              Juan Rojas' phone (ending 8412) approximately 14 times on May 29, 2015 …”

           With regard to Victor Rojas:

              Bank records indicate that Victor Rojas received some of the proceeds of al1 of
              the 9 money pick-ups from a UC bank account into his personal bank accounts
              in New York and wired them to other domestic and foreign accounts. Ruben
              Rojas advised the CS about each money pick-up and he advised the CS to direct
              that a certain portion of each pick-up be wired to Victor Rojas' New York bank
              accounts. Victor Rojas accepted, controlled and then wired approximately
              $1,733,016 in drug trafficking proceeds through his personal New York bank
              accounts. (The Factual Proffer then goes on to detail the Defendant’s receipt of
              wire transfers as well as some wire transfers out of his bank accounts, all at the
              direction of Ruben Dario Rojas Bascope.)

           Therefore, based on the foregoing, the same sentence should be imposed for Victor Rojas

  as was imposed for Juan Rojas, to wit: a forty-six (46) month term of imprisonment and three (3)

  years’ supervised release, so as to avoid a disparity in sentencing.

                                    Title 18 U.S.C. § 3553(a)(2)(A)
      “the need for the sentence imposed . . . to reflect the seriousness of the offense, to promote
                 respect for the law, and to provide just punishment for the offense.”

           As part of its sentencing obligations, this Court should consider the need for the sentence

  imposed to “provide just punishment for the offense.” Title 18 U.S.C. § 3553(a)(2)(A).

           To determine the just punishment for Victor Rojas, the Court should consider how he will

  serve his prison time. In this instance he will spend a portion of his time in lockdown conditions

  similar to solitary confinement. Since March 13, 2020, the BOP “modified its operations” to

  respond to the spread of COVID-19. 1 Individuals “in every institution” are “secured in their

  assigned cells/quarters to decrease the spread of the virus.” Family and friends are prohibited from

  visiting. Programming, absent select UNICOR operations, has ceased and movement throughout


  1
    Fed. Bureau of Prisons, Fed. Bureau of Prisons COVID-19 Action Plan (Mar. 13, 2020),
  https://www.bop.gov/resources/news/20200313_covid-19.jsp (Phase II). Phase II’s modified
  operations were extended as described in Phase III, Phase IV, Phase V, Phase VI, and Phase VII.
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  the facility is suspended. And while BOP’s website claims movement exceptions are made to

  permit showers three times a week, telephone and email access, commissary, and laundry, in

  reality even these most basic activities are not always allowed, and instead, conditions amount to

  a “total lockdown” for “almost twenty-four hours a day.”

         Not only will Mr. Rojas be on lockdown, prohibited from seeing his loved ones, and unable

  to engage in rehabilitative or productive programming, he will also be at grave risk of contracting

  COVID-19. CDC guidance, such as social distancing, is simply “impossible to achieve in our

  federal prisons”—particularly during a lockdown. 2 Incarcerated individuals share bathrooms,

  sinks, showers, and telephones. They eat together, and sleep in close proximity to each other. They

  lack the freedom to bathe regularly and are unable to effectively disinfect their surroundings.

  Unsurprisingly, these conditions have fueled the spread of COVID-19 throughout BOP facilities.

         Specifically, according to the Federal Bureau of Prisons online resource page, as of July

  26, 2020, “[t]here are 4,311 federal inmates and 401 BOP staff who have confirmed positive test

  results for COVID-19 nationwide. Currently, 5,928 inmates and 677 staff have recovered. There

  have been 100 federal inmate deaths and 1 BOP staff member death attributed to COVID-19

  disease.”

         It is submitted, that because of COVID-19, any time Mr. Rojas spends in prison will

  necessarily be more severe than it ordinarily would be. Therefore, the Defendant requests this


  2
    Letter from Dr. Sandro Galea, Dean, Boston Univ. School of Pub. Health, et al., to President
  Trump 1 (Mar. 27, 2020), https://thejusticecollaborative.com/wp-content/uploads/2020/03/Public-
  Health-Expert-Letter-to-Trump.pdf (co-signed by numerous public health officials from leading
  medical and public health institutions); see also Ctrs. for Disease Control and Prevention, Interim
  Guidance on Management of Coronavirus Disease 2019 (COVID-19) in Correctional and
  Detention Facilities, https://bit.ly/2M9IF6a (last visited May 28, 2020) (recognizing that
  correctional and detention facilities present “unique challenges for control of COVID-19
  transmission,” due to the fact that individuals “live, work, eat, study, and recreate within
  congregate environments”).
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  Honorable Court to consider the oppressive nature of BOP confinement in varying below the

  guidelines range.

                                     Title 18 U.S.C. § 3553(a)(2)(D)
                “the need for the sentence imposed . . . to provide defendant with needed
                                  educational and vocational training.”

            One of the fundamental purposes of sentencing is rehabilitation. 3 However, rehabilitation

  is currently impossible in the BOP. In an attempt to respond to COVID-19, the BOP has

  implemented a modified operation plan, which limits social visits, inmate movement, and has

  suspended all volunteer visits, including visits from religious advisors. Under these modified

  operations, Mr. Rojas will be unable to receive programming and rehabilitative resources, and

  instead, will be confined in his “assigned cells/quarters.” Inasmuch as Mr. Rojas will receive no

  rehabilitation in prison for a period of time, it is respectfully requested that this Court consider this

  fact in determining a variance in this case.

                                           Title 28 U.S.C. § 994(g)
              “the Commission shall take into account the nature and capacity of the penal,
       correctional, and other facilities and services available” and “the sentencing guidelines . . .
      shall be formulated to minimize the likelihood that the Federal prison population will exceed
                                      the capacity of Federal prisons.”

            When enacting the Sentencing Reform Act of 1984, Congress confirmed that the “nature

  and capacity” of federal prisons is a critical sentencing consideration. 4 For this reason, Congress

  obligated the Sentencing Commission to formulate guidelines “to minimize the likelihood that the

  Federal prison population will exceed the capacity of the Federal prisons.” Title 28 U.S.C. § 994(g).




  3
      Title 18 U.S.C. § 3553(a)(2)(D).
  4
      Title 28 U.S.C. § 994(g).
                                                     11
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         Despite this obligation, BOP facilities have historically been, and remain, overcrowded. 5

  Adding COVID-19 to the mix has resulted in prisons and jails that are even more dangerous,

  inhumane, and deadly than before. The BOP is simply not equipped to handle this global

  pandemic. Courts have called BOP’s COVID-19 response “an outrage” and “Kafkaesque,”

  confirming that “BOP is struggling to handle this crisis within its prison population.” 6

                               The Defendant’s Employment History
                          As Reflecting on the 18 U.S.C. §3553(a) Factors.

         With regard to the Defendant’s employment history, aside from his unfortunate and foolish

  participation in this criminal conduct, he has always held legitimate employment, never being

  afraid of hard-work as shown below.

         Victor Rojas was employed as a parking lot attendant for Manhattan Parking in Manhattan,

  N.Y. from 2006 to 2009, earning $10 per hour.



  5
    See Fed. Bureau of Prisons, Fed. Bureau of Prisons Program Fact Sheet (rev. July 31, 2019)
  https://bit.ly/36B3YXZ; see also U.S. Dep’t of Justice, FY2020 Performance Budget
  Congressional Submission Federal Prison Systems Buildings and Facilities 3-4,
  https://bit.ly/2M9nRvv; see also; Oversight of the Federal Bureau of Prisons and Implementation
  of the First Step Act of 2018: Hearing before the Subcomm. On Crime, Terrorism, and Homeland
  Security of the H. Comm. on the Judiciary, 115th Cong. 2-4 (2019) (statement of Kathleen Hawk
  Sawyer), https://bit.ly/2M0E2LR.
  6
    United States v. McIndoo, ---F.Supp.3d---, 2020 WL 2201970, at *8 (W.D.N.Y. May 6, 2020);
  see also Class Action Complaint, Torres v. Milusnic, No. 20-cv-04450 (C.D. Cal. May 16, 2020),
  ECF No. 1, at 79 (Declaration of Shamsher Samra, M.D.) (recognizing that the alleged conditions
  at Lompoc “make it virtually impossible to ensure the safety of prisoners who remain housed at
  the facility if the current course is maintained” and the conditions “practically ensure[ ] that all
  remaining prisoners will eventually contract COVID-19 unless extraordinary measures are taken
  now”); Emergency Petition for Writ of Habeas Corpus, Wilson v. Williams, No. 20-cv-794 (N.D.
  Ohio Apr. 13, 2020), ECF No. 1-3, at 4 (Declaration of Meghan Novisky, PhD) (“To be clear,
  without drastic intervention, may more incarcerated individuals and staff [at FCI Elkton] will
  become infected and will face elevated risks for medical complications and mor[tality].”); Mem.
  in Support of Mot. for Immediate Bail, Grinis v. Spaulding, No. 20-cv-10738-GAO (D. Mass Apr.
  15, 2020), ECF No. 4-7, at 8 (Declaration of Dr. Joe Goldenson) (“persons currently detained at
  FMC Devens are at significantly greater risk of contracting COVID-19 than if they were permitted
  to shelter in place in their home communities”).
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         From 2009 to September 2018, the Defendant worked as a parking lot and account manager

  for Rapid Park, in Manhattan, New York, earning $18 per hour. (There is a slight discrepancy

  between the Defendant’s records and the former employer’s records noted in the Presentence

  Investigation Report.) The employer was contacted by the Probation Office and they advised that

  they would consider re-employing the Defendant.

         Additionally, from 2015 to 2017, Victor Rojas worked as an Uber driver, in New York,

  and was making $250 per week.

                             Departure Based Upon U.S.S.G. §5H1.9
                        Dependence upon Criminal Activity for a Livelihood

         The United States Sentencing Commission has stated in a policy statement §5H1.9, that

  the degree to which a defendant depends upon criminal activity for a livelihood is relevant in

  determining the appropriate sentence.

         It is submitted that the Defendant’s employment history demonstrates that he has not been

  dependent upon criminal activity for his livelihood. Further, it should be noted that the Defendant

  was gainfully employed during the time that he participated in the money laundering conspiracy.

                                       18 U.S.C. § 3553(a)(2)
                The need to protect the public from further crimes of the defendant.
                                There is a Low Risk of Recidivism.

         Another important fact regarding this Defendant is that there is a low risk of recidivism

  and a correspondingly lesser need of incarceration to protect the public. 18 U.S.C. §3553(a)(2).

         Certainly, the likelihood of this Defendant engaging in criminal conduct in the future is

  extremely small. Mr. Rojas desires to live the rest of his life in a wholly law-abiding manner.

         Therefore, it is submitted that a sentence well-below the low–end of the advisory

  sentencing guideline range will protect the public from further crimes, since there is a low risk of

  recidivism and a correspondingly lesser need of incarceration to protect the public. 18 U.S.C.
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  §3553(a)(2). Further, it should be noted that the Defendant will be removed or deported pursuant

  to the Immigration and Nationality Act upon his surrender to United States Immigration and

  Customs Enforcement.

                         The Defendant’s Assistance to the Government as a
                                  Title 18 U.S.C. §3553(a) Factor

           The Defendant was fully debriefed and described everything he knew about his criminal

  conduct as well as the conduct of others. In-fact, the agents had advised the Defendant that they

  were focused on his brother, Ruben Dario Rojas Bascope, so in an effort to assist the agents, he

  arranged for a meeting with his brother in Brazil and flew to Brazil with the agents 7, however,

  through no fault of the Defendant, his brother did not show up as planned.

           Victor Rojas supplied whatever information he could in a candid and truthful manner,

  never attempting to diminish his role in the criminal conduct. Further, at all times the Defendant

  stood ready, willing, and able to testify in the event needed by law enforcement and the

  prosecutors.

           Although the Government will not be filing a motion for reduction of sentence pursuant to

  U.S.S.G. §5K1.1, this Court may consider the Defendant’s cooperation as bearing upon the

  characteristics of the defendant.

           Specifically, this Honorable Court may take the Defendant’s cooperation into

  consideration when applying the Title 18 U.S.C. §3553(a)(1) factors with regard to the history and

  characteristics of the Defendant in accord with United States v. Robinson, 741 F.3d 588 (5th Cir.

  2014).



  7
   Brazil was chosen by the agents, since they were not permitted to partake in their investigative
  activities in Bolivia as a result of the lack of cooperation between the United States and the Country
  of Bolivia.
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         The court in United States v. Robinson, 741 F.3d 588 (5th Cir. 2014) held that a sentencing

  court has the power to consider a defendant's cooperation under §3553(a), irrespective of whether

  the Government files a §5K1.1 motion and that a sentencing court's failure to recognize its

  discretion to consider a defendant's cooperation under §3553(a)(1) is a significant procedural error.

      More onerous Conditions of Incarceration for Foreign Nationals such as the Defendant

         Mr. Rojas will be treated differently by the Federal Bureau of Prisons and will be subjected

  to a longer and more onerous term of incarceration than a similarly-situated United States citizen.

  First and foremost, defendants who do not have legal immigration status in the United States serve

  longer terms of imprisonment than similarly situated non-alien defendants with the same sentence.

  A United States citizen is eligible for programs such as release to a halfway house. 8 A citizen is

  eligible to be housed at a minimum-security facility, such as a less restrictive “camp” facility. Mr.

  Rojas is not. 9 United States v. Zapata-Trevino, 378 F. Supp. 2d 1321, 1328 (D.N.M. 2005).




  8
    Unwarranted disparity occurs as result of BOP policy that “after service of his sentence, the
  [deportable detainees] will be released to the custody of the Department of Homeland Security
  (“DHS”) for removal from the United States. Release into DHS custody can, and generally does,
  mean a further term of detention until his removal has been completed.” United States v. Ramirez-
  Ramirez, 365 F. Supp. 2d 728, 733 (E.D. Va. 2005). Deportable detainees are ineligible for release
  to a halfway house at the end of their sentences, which serves to also increase their term of
  imprisonment. See Chapter 4: Description of Drug Treatment Programs and Services, 70,
  available at http://www.bop.gov/policy.
  9
    Inmates who do not have legal immigration status “shall be housed in at least a Low security
  level institution.” Bureau of Prisons, Program Statement, Inmate Security Designation and
  Custody Classification, P5100.08 Ch. 5, Sept. 12, 2006, at 9. The Federal Bureau of Prison’s
  Program Statement P5100.08, Chapter 5, pages 7-9 indicates that deportable alien status is
  considered a “public safety factor.” Chapter 2, page 4, provides, “[t]here are nine Public Safety
  Factors (PSFs) which are applied to inmates who are not appropriate for placement at an institution
  which would permit inmate access to the community (i.e., MINIMUM security).” Id.
  Consequently, Victor Rojas is not eligible for housing in less restrictive “camp” facilities.
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         Consequently, Mr. Rojas faces a longer period of incarceration due to his ineligibility for

  possible release to a halfway house, and placement in a higher security, more restrictive setting

  than a similarly-situated United States citizen.

         Courts have recognized that below-guidelines sentences are appropriate given this harsher

  treatment of defendants without legal immigration status. See Zapata-Trevino, 378 F. Supp. 2d at

  1328 (“Because of his immigration status, a defendant may not be eligible for certain Bureau of

  Prisons programming, and must be placed, at the minimum, in a low-security facility rather than

  at a more relaxed ‘camp.’ Additionally, Defendant will not be eligible for early release.”).

         Upon completion of his sentence, Victor Rojas will be removed or deported. Thus, a

  lengthy sentence is not necessary to protect the public. Furthermore, defendants with immigration

  detainers are typically designated and housed at privately-run facilities with limited educational

  and vocational training opportunities. “When a defendant will ultimately be removed and sent out

  of the country, there is less need for the sentence imposed to protect the public from further crimes

  of the defendant, or to provide the defendant with needed educational or vocational training.”

  United States v. Ramirez-Ramirez, 365 F. Supp. 2d 728. Also see: United States v. Smith, 27 F.3d

  649,307 U.S.App.D.C. 1999.

         Lastly, it should be noted that inmates that are subject to deportation/removal typically

  spend an extra three (3) months incarcerated, because after completing their sentence, they are

  transferred to another facility to be processed for deportation. That process usually takes

  approximately three (3) months to complete.

         The undersigned counsel is well-aware of the case of Reascos-Renia v. United States, 2017

  WL 6513752 (11th Cir, 2017), which noted that, “… this Court has held that a defendant's alien

  status does not justify a downward departure at sentencing. See United States v. Maung, 320 F.3d

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  1305, 1308–10 (11th Cir. 2003) (citing to United States v. Veloza, 83 F.3d 380, 382 (11th Cir.

  1996)), overruled on other grounds by United States v. De Varon, 175 F.3d 930 (11th Cir.

  1999) (en banc) (holding that the fact a defendant's alien status rendered him ineligible to serve

  any part of his sentence in a halfway house did not justify a downward departure.). However, it is

  respectfully submitted that when the disability of the Defendant’s alien status is considered in

  conjunction with the other pertinent factors, it is fair to give some consideration to the Defendant’s

  alien status and the deprivation of benefits he will experience while serving whatever sentence this

  Court may impose.

         Under 18 U.S.C. §3553(b), a district court may depart from the applicable [sentencing]

  guideline range if ‘the court finds that there exists an aggravating or mitigating circumstance of a

  kind, or to a degree, not adequately taken into consideration by the Sentencing Commission in

  formulating the guidelines that should result in a sentence different from that described.’ ” United

  States v. Hoffer, 129 F.3d 1196, 1200 (11th Cir. 1997).

                      Memorandum of Law, Re: Title 18 U.S.C. §3553(a)(1)
                    The nature and circumstances of the offense and the history
                               and characteristics of the Defendant.

         The United States Supreme Court in Pepper v. United States, 131 S.Ct. 1229 (2011),

  emphasized the need for individualized sentencing based not only on the crime, but on the

  particular defendant as well. They said that Federal sentencing demands that every convicted

  person be treated as an individual and “every case as a unique study in the human failings that

  sometimes mitigate, sometimes magnify, the crime and punishment to ensue.” Citing: Gall v.

  United States, 128 S.Ct. 586, 589 (2007).




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         As this Honorable Court is well-aware, the Court has full authority to consider any

  evidence in deciding whether the Guidelines “properly reflect §3553(a) considerations.” Rita v.

  United States, 551 U.S. 338, 351 (2007).

         The Supreme Court has expressly directed sentencing courts that they may not presume

  that the guidelines range is reasonable. Gall v. United States, 128 S. Ct. 586 (2007). Rather,

  sentencing courts are directed to make an “individualized assessment” of the sentence warranted

  by §3553(a) “based on the facts presented.” Gall v. United States, 128 S. Ct. at 597 (2007). The

  result is that “[a] sentencing judge has very wide latitude to decide the proper degree of punishment

  for an individual offender and a particular crime.” United States v. Cavera, 550 F.3d 180, 188 (2d

  Cir. 2008). Ultimately, courts are required to impose a sentence that is “sufficient, but not greater

  than necessary” to reflect the seriousness of the offense, promote general and specific deterrence,

  rehabilitate the defendant and protect the public. 18 U.S.C. §3553(a).

                                           CONCLUSION

         It is respectfully submitted that there is a well-founded basis upon which this Court may

   grant this request for a sentence well-below the low-end of the advisory guidelines sentencing

   range, specifically a sentence of forty-six (46) months as his brother received.

           Such a variance below the advisory guideline range would reflect the seriousness of the

   offense; promote respect for the law, and provide just punishment for the offense. Further, a

   variance of this nature would afford a more than adequate deterrence to any future criminal

   conduct of the Defendant and protect the public as well. In sum and substance, this would be in

   accord with the sentencing principals set forth in Title 18 U.S.C. §3553(a).




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         Victor Rojas is presently forty-nine (49) years of age, and although he made a very poor

   decision to engage in this criminal conduct, he certainly deserves another chance to demonstrate

   that he can return to a fully law-abiding life.

         A forty-six (46) month sentence in this instance would be sufficient, but not greater than

  necessary, to comply with the sentencing goals set forth in Title 18 U.S.C.A. §3553(2)(A-D).

         WHEREFORE, Defendant, VICTOR ROJAS, respectfully prays that this Honorable

  Court enter its order granting the within Motion for a Downward Variance, and thereby impose a

  sentence of forty-six (46) months imprisonment and three (3) years’ supervised release.

                                                          Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 1st day of August, 2020, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified on the

  attached service List in the manner specified, either via transmission of Notices of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or parties who are

  not authorized to receive electronically Notices of Electronic Filing.



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                                 Case No. 19-CR-20141-JLK-2
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